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               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                         Filed: October 27, 2022

* * * * * * * * * * *                  * *
KATHLEEN PUHI and                          *
KAWELOLANI PUHI, on behalf                 *
of K.P., a minor,                          *             Unpublished
                                           *
                                           *
              Petitioners,                 *             No. 20-533V
                                           *
v.                                         *             Special Master Gowen
                                           *
SECRETARY OF HEALTH                        *             Decision on Stipulation; Measles-
AND HUMAN SERVICES,                        *             Mumps-Rubella (“MMR”) and
                                           *             Meningococcal (“MCV”); Immune
              Respondent.                  *             thrombocytopenia purpura (“ITP”).
* * * * * * * * * * * * *
Diana L. Stadelnikas, Maglio Christopher and Toale, PA, Sarasota, FL, for petitioner.
Claudia B. Gangi, U.S. Department of Justice, Washington, D.C., for respondent.

                                     DECISION ON STIPULATION 1

        On April 30, 2020, Kathleen Puhi and Kawelolani Puhi, on behalf of K.P., a minor,
(“petitioners”) filed a petition in the National Vaccine Injury Compensation Program. 2 Petition
(ECF No. 1). Petitioners alleged that after K.P. received the measles-mumps-rubella (“MMR”)
and the meningococcal (“MCV”) vaccines on July 13, 2018, K.P. suffered from immune
thrombocytopenia purpura (“ITP”). Id. at Preamble.

       On October 27, 2022, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation (ECF No. 36). Respondent denies that

1
 Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I intend to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. Before the opinion is
posted on the court’s website, each party has 14 days to file a motion requesting redaction “of any information
furnished by that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b). An objecting party must provide the court with a proposed
redacted version of the opinion. Id. If neither party files a motion for redaction within 14 days, the opinion will be
posted on the court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-10 to 34 (2012)
(hereinafter “Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42 U.S.C. § 300aa of
the Act.
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the MMR and MCV vaccines is the cause of K.P.’s ITP, or any other injury, and denies that
K.P.’s current condition is a sequelae of a vaccine-related injury. Id. at ¶ 6. Nevertheless,
maintaining their respective positions, the parties now agree that the issues between them shall
be settled and that a decision should be entered awarding the compensation according to the
terms of the stipulation attached hereto as Appendix A. Id. at ¶ 7.

        The stipulation provides:

        A) A lump sum of $6,000.00, which amount represents compensation for past
           unreimburseable expenses, in the form of a check payable to petitioners,
           Kathleen Puhi and Kawelolani Puhi;

        B) An amount of $95,000.00 to purchase the annuity contract described in
           paragraph 10 of the stipulation, paid to the life insurance company from which
           the annuity will be purchased.

These amounts represent compensation for all damages that would be available under 42 U.S.C.
§ 300aa-15(a).

        Accordingly, the Clerk of the Court SHALL ENTER JUDGMENT in accordance with
the terms of the stipulation and this decision. 3

        IT IS SO ORDERED.

                                                                               s/Thomas L. Gowen
                                                                               Thomas L. Gowen
                                                                               Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).

                                                        2
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